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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
NATIONWIDE AFFINITY INSURANCE COMPANY
OF AMERICA AS SUBROGEE OF KELLY BURT
AND BRITTINI BURT,
                                    Plaintiff,                          COMPLAINT

                 -against-
                                                                                    5:16-CV-880 (LEK/ATB)
                                                                       Docket No.: _______________
UNITED STATES OF AMERICA,

                                    Defendant.
-----------------------------------------------------------------------x

        Plaintiff, NATIONWIDE AFFINITY INSURANCE COMPANY OF AMERICA AS
SUBROGEE OF KELLY BURT AND BRITTINI BURT, by their attorneys,
GIALLEONARDO, FRANKINI & HARMS, as and for their complaint against defendant,
alleges upon information and belief:

                                              INTRODUCTION
    1. This is an action brought by the plaintiff, Nationwide Affinity Insurance Company of
        America as subrogee of Lindsay Hill, to recover the sum of $4,817.43, said sum being the
        amount the plaintiff subrogor sustained in damage/loss of use of his automobile caused
        by the negligence of the defendant(s), its servants, agents and/or employees on or about
        December 14, 2015.
                                          JURISDICTION AND VENUE
    2. Jurisdiction of this Court is founded upon 28 U.S.C. 1346(b) and 28 U.S.C.
        §2671-2680 as the United States Postal Service is being sued herein for actions
        committed by persons acting on behalf of the defendant, the United States of America.
    3. Venue is properly place in the United States District Court for the Northern District of
        New York pursuant to 28 U.S.C. 1391(a)(2), since a substantial number of the events or
        omissions giving rise to the claims herein occurred within this District or were committed
        here and the property that is the subject of the action is situated within this District.
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                                            PARTIES
4. The plaintiff, Nationwide Affinity Insurance Company of America, conducts business at
   225 Greenfield Parkway, Suite 200, Liverpool, NY 13088.
5. The defendant, UNITED STATES OF AMERICA, conducts business at an office located
   at 1200 Main Place Tower, Buffalo, New York 14202, through the federal agency,
   United State Postal Service.


                                             FACTS
6. On December 14, 2015, a vehicle owned and operated by the plaintiff’s subrogor was
   involved in an accident with a United States Postal Service vehicle owned by the
   defendant, United States of America. The accident occurred at or near the intersection
   of Hoosick Street and 8th Street, City of Troy, County of Rensselaer, State of New York.


                      AS AND FOR A FIRST CAUSE OF ACTION AGAINST
                                   UNITED STATES OF AMERICA
7. Plaintiff repeats, reiterates and realleges each and every allegation contained in the
   preceding paragraphs of this Verified Complaint numbered “1” through “6” inclusive,
   with the same force and effect as though fully set forth herein at length.
8. That during the time hereinstated and hereinafter mentioned, the plaintiff was and still is
   an Insurance Company duly licensed by the New York State Department of Insurance.
9. That upon information and belief, and at all times hereinafter mentioned, the
   UNITED STATES POSTAL SERVICE was and is a duly constituted department of the
   defendant, the United States Government.
10. That upon information and belief, at all times hereinafter mentioned, defendant UNITED
   STATES OF AMERICA through its agent, UNITED STATES POSTAL SERVICE, was
   the registered owner of a motor vehicle bearing New York State license plate number
   FZR9746.
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11. The aforementioned collision was caused solely by reason of the negligence,
   carelessness, and/or recklessness of the driver, Jeffery Korman.
12. At the time of the aforementioned collision, the driver, Jeffery Korman, was an UNITED
   STATES POSTAL SERVICE employee, member, servant and/or agent of the defendant,
   the UNITED STATES OF AMERICA, who was acting within the scope of his
   employment, service and/or assignment.
13. Defendant, the UNITED STATES OF AMERICA, is therefore responsible for the
   negligence of the driver, Jeffery Korman.
14. The plaintiff’s subrogor sustained property damage and loss of use of its vehicle in the
   sum of $4,817.43 caused wholly and solely by reason of the carelessness and negligence
   of the defendant, its servants, agents and/or employees on or about December 14, 2015.
15. Plaintiff’s subrogee, Nationwide Insurance Company of America, reimbursed its
   subrogor for the aforementioned damages, pursuant to a collision insurance policy.
16. Prior to the commencement of this action, plaintiff served the United States Postal
   Service with proper notice of this claim by filing a Standard Form 95 pursuant to the Tort
   Claims Act, by certified mail dated January 27, 2016. On or about February 25, 2016
   the Plaintiff received a demand for reimbursement for the damage to the Defendant’s
   motor vehicle in reply to the Plaintiff’s Notice of Claim.
17. This suit is being filed in the appropriate United States District Court within the statutory
   time frame as less than six months has passed from the time plaintiff was served with the
   reply from the Defendant.
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        WHEREFORE, plaintiff demands judgment against the defendant(s) for the sum of
$4,817.43, together with interest from December 14, 2015, along with costs and disbursements
of this action.
Dated: Mineola, New York
       July 18, 2016
                                                  Yours, etc.,
                                                  GIALLEONARDO, FRANKINI & HARMS



                                                  By:____________________________
                                                  ANGELO CAPALBO, ESQ.
                                                  Attorneys for the Plaintiff
                                                  330 Old Country Road, Suite 200
                                                  Mineola, New York 11501
                                                  (516)493-4523
                                                  Capala1@nationwide.com

TO:
UNITED STATES OF AMERICA
C/O UNITED STATES POSTAL SERVICE
1200 MAIN PLACE TOWER
BUFFALO, NEW YORK 14202
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                                 AFFIRMATION BY ATTORNEY


STATE OF NEW YORK               )
                                ) ss.:
COUNTY OF NASSAU                )


         The undersigned, as attorney admitted to practice before the Courts of the State of New
York and fully aware of the penalties for perjury, hereby affirms:
   1. Affirmant is the attorney for plaintiff, NATIONWIDE AFFINITY INSURANCE
         COMPANY OF AMERICA AS SUBROGEE OF KELLY BURT AND BRITTINI
         BURT, in the within action.
   2. Affirmant is fully familiar with the facts and circumstances involved in this matter
         from reviewing the file regarding same maintained in our office.
   3. Affirmant has read the foregoing COMPLAINT and knows the contents thereof and the
         same is true to affirmant’s own knowledge, except as to the matters therein stated to be
         alleged on information and belief; and that as to those matters, affirmant believes them to
         be true.
   4. That affirmant’s belief as to those matter therein not stated upon knowledge are based
         upon correspondence, reports, statements, records and communications had with the
         plaintiff with regards to this action and which information is contained in the file
         maintained in our office.
   5. That the reason I make this affirmation instead of the plaintiff’s subrogor is because
         this is a subrogation action and the plaintiff is a foreign corporation.
         I affirm that the foregoing statements are true under the penalties of perjury.


Dated:              Mineola, New York
                    July 18, 2016


                                                        _________________________________
                                                        ANGELO CAPALBO
